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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

  Case No. CV 19-07077-FMO-(AFMx)                                             Date: March 17, 2020
  Title      MIGUEL GUTIERREZ v. NEW HOPE HARVESTING, LLC., ET AL.




  Present: The Honorable:       ALEXANDER F. MacKINNON, U.S. MAGISTRATE JUDGE
                    Ilene Bernal                                       Recorded on XTR
                    Deputy Clerk                                    Court Reporter / Recorder

          Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:

          Marco Palau                                         Sarah Hernandez
          Ezra Kautz
          Veronica Melendez Lopez

  Proceedings: HRG: TELEPHONE CONFERENCE RE

                  1) DEFENDANTS’ MOTION RE THE DEPOSTION OF PLAINTIFF
                     MIGUEL GUITIERREZ (ECF #32) and
                  2) PLAINTIFF’S MOTION FOR PROTECTIVE ORDER (ECF #34)

                  Telephonic hearing held on motion to compel (ECF 32) and motion for a protective
          order (ECF 34). For the reasons stated on the record, the Court denies the motion to compel
          and grants the motion for a protective order as follows: Plaintiff’s deposition shall take
          place by video conference pursuant to Fed. R. Civ. P. 30(b)(4). Plaintiff’s counsel is
          responsible for arranging for a videographer, interpreter and court reporter and shall
          coordinate with Defendants’ counsel on these issues and any technical issues. Because of
          the extra time required for a deposition involving an interpreter (as well as potential delays
          inherent in questioning by video conferencing), the length of the deposition is extended to
          10.5 hours if reasonably necessary by Defendants to complete their questioning. The
          requests for monetary sanctions are denied. The positions of both sides were substantially
          justified, and it would not be in the interests of justice to award sanctions or expenses in
          connection with these motions. See Fed. R. Civ. P. 37(a)(5)(A).

                  IT IS SO ORDERED.

                                                                                                  : 15
                                                                      Initials of Preparer         IB



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